       Case 2:09-cr-00466-KJD-LRL             Document 183        Filed 12/08/11     Page 1 of 1




                                     UNITEB STATES D ISTR ICT COU RT

                                          DISTR ICT OF NEVADA

 UnitedSltesofAm erica
                        Plaintiffk
                                                                 DistrictN o. 2:09-CR-046& PM P-LRL
 VS.


 M anuelGudino-sierra


                        Defendant.

                          ORDER TEM POQAQH,Y IJNSEALING TRANSCRIPT


         0n Deoember8th,2011thiscouztreceived atranscriptorderform dated December5+ ,2011requestinga
Transcript oftheSuppression HeadngheldonM arch 16th,2011from M r.CharlesKelly, CounselforM r.M anuel
Gudino-sierra,in which apordpn ofthe hearing issealed.



         IT IS THE ORDER OF THE COIJRT thatthesealedportion oftherecordingshallbeunsealed bythe
Clerk fortlzelitnitedptuposeofproviding atralkscriptofhean'
                                                          ng asrequested byPlaintif counsel.


        IT IS FURTH ER ORDERED thatthesealedportion oftherecordingshalltherealterberesealed bythe
Clerk untilfurtllerorderofthisCourt.

        IT IS FURTHER ORDERED thatPlaintilfcoursselshallnotdiscloge thesealed contentsoftlzetranscript
to anyoneotherthan therepresenâtivesofthepartiesdiredlyconcem ed wit.h thiscase.


        DATED tltis        day ofDecember,2011.




                                                  PhilipM .Pro
                                                  United StatesJudge
